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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
United States of America                          §
                                                  §
vs.                                               §      NO. 1:19-CR-00216-LY
                                                  §
Alfredo DeJesus                                   §


                           REPORT AND RECOMMENDATION
                      OF THE UNITED STATES MAGISTRATE JUDGE

TO: THE HONORABLE LEE YEAKEL
    UNITED STATES DISTRICT JUDGE

      The Magistrate Judge submits this Report and Recommendation to the District Court pursuant

to 28 U.S.C. § 636(b)(3). The District Court referred this case to the United States Magistrate

Judge for the taking of the defendant’s felony guilty plea and for his allocution pursuant to Federal

Rule of Criminal Procedure 11.

      On September 26, 2019, the defendant and counsel appeared before the Magistrate Judge. The

undersigned addressed the defendant personally in open court, informed him of the admonishments

under Rule 11 of the Federal Rules of Criminal Procedure, and determined that he understood

those admonishments. The defendant pled guilty to one count of Illegal Re-entry into the United

States in violation of 8 U.S.C. § 1326.

      The Magistrate Judge finds the following:

         1. The defendant, with the advice of his attorney, consented to enter this guilty plea before
            the Magistrate Judge, subject to final approval and sentencing by the District Judge;
         2. The defendant fully understands the nature of the charge against him and possible
            penalties;
         3. The defendant understands his constitutional and statutory rights, understands that his
            constitutional and statutory rights can be waived, and understands the meaning and
            effect of the waiver of his constitutional and statutory rights;
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       4. The defendant’s plea was made freely and voluntarily;
       5. The defendant is competent to enter this plea of guilty; and
       6. There is a factual basis for this plea.

                                     RECOMMENDATION

   The Magistrate Judge RECOMMENDS that the District Court accept the defendant’s guilty

plea and, after reviewing the presentence investigation report, enter a Final Judgment of guilt

against him.

                                           WARNING

   The parties may file objections to this Report and Recommendation. A party filing objections

must specifically identify those findings or recommendations to which objections are being made.

The District Court need not consider frivolous, conclusive, or general objections. See Battle v.

United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987). A party’s failure to file written

objections to the proposed findings and recommendations contained within this Report within

fourteen (14) days after being served with a copy of the Report shall bar that party from de novo

review by the District Court of the proposed findings and recommendations and, except upon

grounds of plain error, shall bar the party from appellate review of proposed factual findings and

legal conclusions accepted by the District Court to which no objections were filed. See 28 U.S.C.

§ 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150-53, 106 S. Ct. 466, 472-74 (1985); Douglass v.

United Servs. Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).

   SIGNED September 27, 2019.



                                               _______________________________________
                                               SUSAN HIGHTOWER
                                               UNITED STATES MAGISTRATE JUDGE
